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                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

DARLENE COLLINS, individually and                )
on behalf of all others similarly situated;      )
BAIL BOND ASSOCIATION                            )
OF NEW MEXICO;                                   )
SENATOR RICHARD MARTINEZ;                        )
SENATOR BILL SHARER;                             )
SENATOR CRAIG BRANDT;                            )
REPRESENTATIVE BILL REHM; and                    )
REPRESENTATIVE CARL TRUJILLO;                    )
                        Plaintiffs,              )
                                                 )
v.                                               )
                                                 )
CHARLES W. DANIEL,                               )
Individually and in His Official Capacity;       )
EDWARD L. CHAVEZ,                                )
Individually and in His Official Capacity;       )
PETRA JIMENEZ MAEZ,                              )
Individually and in Her Official Capacity;       )
BARBARA J. VIGIL;                                )
Individually and in Her Official Capacity;       )
JUDITH K. NAKAMURA,                              )
Individually and in Her Official Capacity; and   )
THE NEW MEXICO SUPREME COURT,                    )
                                                 )
                       Defendants.
                                                 )

       CLASS ACTION COMPLAINT; COMPLAINT FOR DECLARATORY AND
                         INJUNCTIVE RELIEF




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       Plaintiff Darlene Collins, on behalf of herself and all others similarly situated, Plaintiff

Bail Bonds Association of New Mexico (“BBANM”), Plaintiff Senators Richard Martinez, Bill

Sharer and Craig Brandt, and Plaintiff Representatives Bill Rehm and Carl Trujillo (collectively

“Plaintiffs”), bring this action against Defendants Charles Daniels, Edward Chavez, Petra Maez,

Barbara Vigil, Judith Nakamura and the New Mexico Supreme Court (collectively “Defendants”),

and allege the following:

                                 PRELIMINARY STATEMENT

       1.        Plaintiff Collins stands accused but unconvicted of a crime. Under bedrock

principles of American law, she is presumed innocent. And like all innocent people, she is

presumptively entitled to liberty from any pre-trial or pre-arraignment restraint. In fact, denial of

that pre-arraignment liberty almost cost her very life and cost the State of New Mexico significant

amounts of money in medical care.

       2.        For centuries, the mechanism for ensuring a defendant’s liberty from pre-trial

restraint was monetary bail. A person accused but unconvicted of a bailable offense could not be

subject to any pre-trial or pre-arraignment deprivation of liberty without the option of bail, unless

the government showed that no amount of money would serve the government’s interest in

securing the defendant’s future appearance (or, more recently, that detention was necessary to

protect the community from danger). Bail is thus a liberty-preserving mechanism as old as the

Republic.

       3.        The availability of bail is enshrined in the Bill of Rights. The Eighth Amendment

forbids “[e]xcessive bail,” a protection that presupposes the option of bail. And the vast majority

of state constitutions throughout American history, including New Mexico’s, have likewise

guaranteed defendants (in all but capital cases) the option of bail before being subjected to pre-



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trial deprivations of liberty.

        4.       The option of bail to avoid pre-trial deprivations of liberty no longer exists in New

Mexico, despite the fact that the New Mexico Legislature did not pass a change in the law or adopt a

public policy modifying the law regarding bail found at NMSA 1978 § 31-3-1 et. seq. Instead, under

the recently passed and effective July 1, 2017 New Mexico Supreme Court Rules regarding pretrial

release and detention in criminal proceedings, adopted pursuant to Supreme Court Order No. 17-

8300-0051 (“Supreme Court Rules”), See EXHIBIT A, New Mexico courts may not consider

releasing a defendant on bail unless they first conclude and provide a written opinion within two

days of the appearance of the Defendant before them that no combination of non-monetary

conditions - including substantial deprivations of pre-trial liberty like home detention, being

prevented from returning to their home or some sort of 24-hour electronic monitoring for instance

through an “ankle bracelet” - will ensure the defendant’s appearance at trial. Thus, no matter how

much an accused would prefer posting bail or might need to obtain pretrial or pre-arraignment

liberty because of needs like medical conditions, the Supreme Court rules mandate that release on

her own recognizance with home detention, an electronic monitoring device or some other liberty

depriving condition be imposed instead. Further, as a result of the Supreme Court Rules, obtaining

needed or desired pre-arraignment release is no longer an option.

        5.       Plaintiff Collins’s experience is illustrative of just how damaging the changes these



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 IT IS THEREFORE ORDERED the amendment of Rules 5-106, 5-204, 5-401, 5-402, 5-
403, 5-405, and 5-406 NMRA of the Rules of Criminal Procedure for the District Courts,
Rules 6-401, 6-403, 6-406, 6-506, and 6-703 NMRA of the Rules of Criminal Procedure for
the Magistrate Courts, Rules 7-401, 7-403, 7-406, 7-506, and 7-703 NMRA of the Rules of
Criminal Procedure for the Metropolitan Courts, Rules 8-401, 8-403, 8-406, 8-506, and 8-703
NMRA of the Rules of Procedure for the Municipal Courts, Rules 12-204, and 12-205 NMRA
of the Rules of Appellate Procedure, and For s 9-302, 9-303, 9-307, 9-308, and 9-309 NMRA
of the Criminal Forms is APPROVED;

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rules can be even before the alleged violator can be arraigned. She was arrested on July 1, 2017,

after a domestic dispute and charged with aggravated assault with a deadly weapon. Plaintiff

Collins is 61 years old, she is handicapped, diagnosed with mental health issues and other major

health issues all requiring medications, but has supportive family, and a residence in the

community. However, despite the fact that her family secured the bond necessary from a local

bond agency to have her released on bail from the Metro Detention Center prior to arraignment,

because of the Defendants newly enacted rules she was denied release. She could have paid a non-

excessive amount of bail to secure her future appearance for arraignment. In fact, Plaintiff Collins’

family had reached an agreement with an Albuquerque bond company that is a member of Plaintiff

BBANM. Had the new rules not prevented the posting of a jailhouse bond, she then would have

enjoyed her full pre-arraignment liberty necessary to take care of her medical needs without placing

her life in jeopardy, just like any other presumptively innocent member of society.

        6.     Instead, under the Supreme Court Rules, neither the courts nor the jailhouses ever

had the option to set a pre-arraignment jailhouse bond or the realistic option to set pre-trial secured

bond, let alone to give Plaintiff Collin’s family the opportunity to post it. Instead, relying on new

rules the detention center concluded that pre-arraignment secured bonds are not allowed under the

new Supreme Court Rules, and that Plaintiff Collin’s appearance for arraignment could not be

secured by a non-excessive jailhouse bond requiring her continued incarceration prior to

arraignment. Further, even upon her arraignment the lower court was required to consider non-

monetary conditions (including the condition imposed that she was not to return to her home while

she was awaiting trial) or an unsecured cash bond disallowing her the option of obtaining a non-

excessive secured bond that allowed her to continue her daily life, with her particular needs free

from liberty restricting conditions.


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       7.       Thousands of other New Mexico defendants have been, and will continue to be,

subjected to similar life-altering, liberty-restricting conditions without ever receiving the option of

a secured non-excessive bond. And they are not the only ones harmed. The Supreme Court Rules

largely eliminates the business of secured appearance bonds like those provided by the members

of Plaintiff BBANM, which help criminal defendants obtain their pre-arraignment and pretrial

freedom without infringing on their civil liberties.

       8.       The New Mexico Supreme Court Rules deviate from centuries of American criminal

practice. The Supreme Court believes its new approach will reduce the number of detained

defendants who cannot afford bail, and Plaintiffs have no quarrel with that general objective. But

the state can achieve that goal while offering both monetary bail and other conditions, as

appropriate. What the New Mexico Supreme Court may not do is restrict the liberty of

presumptively innocent defendants without offering the one alternative to substantial pre-trial

deprivations that the Constitution expressly protects—monetary bail.

                                  JURISDICTION AND VENUE

       9.       This action seeks declaratory and injunctive relief, damages, and other relief

pursuant to 28 U.S.C. §§2201 and 2202 and 42 U.S.C. §§1983 and 1988.

       10.      This Court has subject-matter jurisdiction over Plaintiffs’ federal constitutional

claims pursuant to 28 U.S.C. §§1331 and 1343(a)(3).

       11.      This Court has pendent jurisdiction to hear Plaintiff’s state constitutional claims.

       12.      Venue is proper pursuant to 28 U.S.C. §1391(b)(2).

       13.      There is an active, justiciable controversy between the parties over whether

Defendants’ imposition of liberty-restricting conditions of pre-arraignment and pre-trial release

on Plaintiff Collins and other presumptively innocent criminal defendants - including prospective


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clients of bond agents like the members Plaintiff BBANM — without providing the option of

secured non-excessive bond violates the Constitution. Further, there is a justiciable controversy

concerning whether the actions of Defendants violate the New Mexico Constitution’s separation

of powers found at N.M. Const. art. III, § 1 by impermissibly invading the powers delegated to

New Mexico Legislature in N.M. Const. art. IV, § 1.

        14.     Declaratory relief will resolve this controversy and eliminate the burden imposed

on Plaintiffs’ constitutional rights as well as the economic harms imposed by the unconstitutional

actions and by restoring the law-making authority of the New Mexico Legislature to decide the

highly important public policy issue.

        15.     A preliminary injunction preventing the New Mexico Courts Defendants from

enacting the challenged New Mexico Supreme Court Rules will shield Plaintiffs’ constitutional

rights from ongoing harm while this litigation is pending.

        16.     A permanent injunction against Defendants, preventing them from enacting the

challenged New Mexico Supreme Court Rules, will protect Plaintiffs’ rights prospectively after

final resolution of this matter and will restore the legislative power to address this public policy

matter for the preservation of the public peace, health or safety.

                                               PARTIES

        17.     Plaintiff Darlene Collins is a citizen of New Mexico who resides in Albuquerque.

Plaintiff was arrested July 1, 2017, for aggravated assault, based on her alleged role in a domestic

disturbance. Plaintiff is handicapped, suffering mobility limitations incurred after being in a

collision caused by a drunk driver, is on medications for psychological issues and for blood

pressure issues, she has a supportive family, and a residence in the community, and her family was

willing to pay a non-excessive amount of bail for secured bond required to assure her future


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appearance for arraignment and trial. Under the new Supreme Court Rules, however, neither the

jailhouse nor the court could not offer her that option, but instead could not consider a secured

bond to release her pre-arraignment and had to consider whether non-financial conditions or

unsecured monetary conditions would assure her appearance before considering a secured bond.

The court determined that the non-financial conditions of not returning to her home would secure

the community upon her release on her own recognizance and that pretrial service could determine

any other conditions to secure her return - which ultimately resulted in no additional conditions,

however, Plaintiff Collins was denied the option of posting a secured bond so that she could return

to her home.

       18.     Plaintiff Bail Bond Association of New Mexico (BBANM) is a professional

membership organization comprised of bail bond businesses licensed to do business and operating

throughout New Mexico. The membership of BBANM stands ready, willing, and able to issue and

post a secured bond to Plaintiff Collins and others similarly situated. The membership of BBANM

has experienced almost total devastation of their businesses, through the depravation of the

protections of the 8th Amendment to a reasonable bond for their potential customers. Madrid

Enterprises, Inc., DBA Gerald Madrid Bail Bonds is a member of BBANM and licensed bail bond

agent in the State of New Mexico, Gerald Madrid Bail Bonds is owned by Gerald Madrid who is

the President of Plaintiff BBANM.

       19.     Plaintiff Senator Richard Martinez is a duly elected Senator to the New Mexico

Legislature.

       20.     Plaintiff Senator Bill Sharer is a duly elected Senator to the New Mexico

Legislature.

       21.     Plaintiff Senator Craig Brandt is a duly elected Senator to the New Mexico



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Legislature.

       22.     Plaintiff Representative Carl Trujillo is a duly elected Representative to the New

Mexico Legislature.

       23.     Plaintiff Representative Bill Rehm is a duly elected Representative to the New

Mexico Legislature

       24.     Defendant Charles Daniels is a Justice of the New Mexico Supreme Court.

Defendant Daniels is sued for declaratory and injunctive relief in his official capacity and for

damages in his personal capacity.

       25.     Defendant Edward Chavez is a Justice of the New Mexico Supreme Court.

Defendant Chavez is sued for declaratory and injunctive relief in his official capacity and for

damages in his personal capacity.

       26.     Defendant Petra Maez is a Justice of the New Mexico Supreme Court. Defendant

Maez is sued for declaratory and injunctive relief in her official capacity and for damages in her

personal capacity.

       27.     Defendant Barbara Vigil is a Justice of the New Mexico Supreme Court. Defendant

Vigil is sued for declaratory and injunctive relief in her official capacity and for damages in her

personal capacity.

       28.     Defendant Judith Nakamura is the Chief Justice of the New Mexico Supreme Court.

Defendant Nakamura is sued for declaratory and injunctive relief in her official capacity and for

damages in her personal capacity.

       29.     Defendant New Mexico Supreme Court is sued in its official capacity for declaratory

and injunctive relief as a co-equal branch of the tripartite New Mexico government established by the

New Mexico Constitution.


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                                   FACTUAL ALLEGATIONS

       A.      HISTORICAL AND CONSTITUTIONAL BACKGROUND

       30.     “Bail … is basic to our system of law.” Schilb v. Kuebel, 404 U.S. 357, 365 (1971).

With roots tracing to the “ancient practice[s]” of English common law and the Magna Carta, bail

has preserved the “traditional right to freedom before conviction” for almost a thousand years.

Stack v. Boyle, 342 U.S. 1, 4 (1951).

       31.     The defining documents of English liberty—the Statute of Westminster of 1275, the

Petition of Right of 1628, the Habeas Corpus Act of 1679, and the English Bill of Rights of
1689—all recognize a defendant’s right to bail. See Cobb v. Aytch, 643 F.2d 946, 958 n.7 (3d Cir.

1981) (en banc).

       32.     Early American authorities likewise recognized the right to bail. The Northwest

Ordinance, adopted by the Continental Congress in 1787, provided that “[a]ll persons shall be

bailable, unless for capital offenses where the proof should be evident, or the presumption great.”

1 Stat. 50, 52. The Judiciary Act of 1789, adopted on the same day that Congress proposed the

Bill of Rights to the States for ratification, directed that “upon all arrests in criminal cases, bail

shall be admitted except where the punishment may be death.” 1 Stat. 73, 91.

       33.     Against this backdrop in which the right to bail was presumed, the People
ratified the Eighth Amendment, which provides “[e]xcessive bail shall not be required.”


       34.     State constitutions, too, have overwhelmingly recognized a right to bail as an

option to avoid pre-trial deprivations of liberty. “[E]very state that entered the Union after 1789,

except West Virginia and Hawaii, guaranteed a right to bail in its original state constitution.”

Donald B. Verrilli, Jr., The Eighth Amendment and the Right to Bail: Historical Perspectives, 82

Colum. L. Rev. 328, 351 (1982).

       35.     The right to bail is not absolute. Courts may deny bail to a defendant if no amount

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of money will assure his appearance at trial or the safety of the community. United States v.

Salerno, 481 U.S. 739, 746-55 (1987). And legislatures may define categories of crimes, such as

capital offenses, or other “special circumstances” in which detention without bail may be

permitted. Id. at 749.

       36.     But outside such “carefully limited” exceptions, id. at 755, the Constitution has

always guaranteed a defendant the opportunity to avoid pre-trial deprivations of liberty through

non-excessive monetary bail.

   B. BAIL IN NEW MEXICO

       37.     Non-excessive bail is a long-established tradition in New Mexico contained the

New Mexico Constitution’s Bill of Rights stating that “[a]ll persons shall, before conviction, be

bailable by sufficient sureties, except for capital offenses when the proof is evident or the

presumption great and in situations in which bail is specifically prohibited by this section.

Excessive bail shall not be required, nor excessive fines imposed, nor cruel and unusual

punishment inflicted. N.M. Const. art. II, § 13.

       38.     On November 8, 2016, following the passage of 2016 Senate Joint Resolution 1,

the voters of New Mexico voted to amend the New Mexico Constitution by adding the following,

removing some of the language and adding the following language as recommended by SJR 1:

       Bail may be denied by a court of record pending trial for a defendant charged with
       a felony if the prosecuting authority requests a hearing and proves by clear and
       convincing evidence that no release conditions will reasonably protect the safety of
       any other person or the community. An appeal from an order denying bail shall be
       given preference over all other matters.

       A person who is not detainable on grounds of dangerousness nor a flight risk in the
       absence of bond and is otherwise eligible for bail shall not be detained solely because
       of financial inability to post a money or property bond. A defendant who is neither
       a danger nor a flight risk and who has a financial inability to post a money or
       property bond may file a motion with the court requesting relief from the
       requirement to post bond. The court shall rule on the motion in an expedited manner.

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N.M. Const. art. II, § 13

        39.    The New Mexico voters in the adoption of the amendment to the Constitution

therein sent the undeniable signal to the New Mexico Legislature concerning their views on the

public policy in New Mexico concerning bail. Bail in New Mexico was historically a matter of

law providing for the preservation of the public peace, health or safety delegated to the New

Mexico Legislature which was acted upon by the New Mexico Legislature in the passage of law

found at NMSA 1978 § Ch. 31, art. 3.

   C. THE CHALLENGED LAW

        40.    In 2016, following the New Mexico Supreme Court’s decision in State v. Brown,

2014-NMSC-038, 338 P.3d 1276, Justice Daniels the author of the Brown opinion petitioned the

Legislature for a change in the law regarding bail in New Mexico. His quest for that change

culminated in compromise that was passed as SJR 1 and was ratified by the voters in November of

2016.

        41.    Following the adoption of the amendment by the voters in November 2016, the

New Mexico Supreme Court convened an ad hoc committee for the adoption of modified rules

concerning bail in New Mexico. The resultant changes to the Rules of Criminal Procedure for

the Districts Courts, specifically the redline changes to NMRA 5-401, are included as EXHIBIT

B, for example. The result of the ad hoc committee was the recommendation of the sweeping

bail reforms sought but denied to Justice Daniels in the New Mexico Legislature following the

2014 Brown decision. On June 5, 2017, presumably under the auspices of the New Mexico

Supreme Courts constitutional authority of superintending control over the inferior courts of New

Mexico, the New Mexico Supreme Court usurped the powers of the New Mexico Legislature to

pass a sweeping public policy reform not as law, but through rule.


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       42.     The new Supreme Court Rules created hierarchy effectively prohibiting the lower

courts from considering secured bonds without placing untenable work requirements on the lower

court judges therein effectively removing the option from consideration by judges and a de facto

situation wherein jailhouse bonds where completely extinguished as an option for pre-arraignment

release. Specifically, the new rules as adopted contained the following language:

       Pending trial, any defendant eligible for pretrial release under Article II, Section 13
       of the New Mexico Constitution, shall be ordered released pending trial on the
       defendant’s personal recognizance or upon the execution of an unsecured
       appearance bond in an amount set by the court, unless the court makes written
       findings of particularized reasons why the release will not reasonably ensure the
       appearance of the defendant as required. The court may impose non- monetary
       conditions of release under Paragraph D of this rule, but the court shall impose the
       least restrictive condition or combination of conditions that will reasonably ensure
       the appearance of the defendant as required and the safety of any other person or
       the community.

       …

       In determining the least restrictive conditions of release that will reasonably ensure
       the appearance of the defendant as required and the safety of any other person and
       the community, the court shall consider any available results of a pretrial risk
       assessment instrument approved by the Supreme Court for use in the jurisdiction, if
       any, and the financial resources of the defendant.

       43.     Most importantly, the Supreme Court Rules in establishing the hierarchy only

allowed for the lower courts to consider the posting of secured bonds “[i]f the court makes findings

of the reasons why release on personal recognizance or unsecured appearance bond, in addition to

any non-monetary conditions of release, will not reasonably ensure the appearance of the

defendant as required, the court may require a secured bond for the defendant’s release.” And then

the Supreme Court Rules require the already overworked lower court judges to write and file

written findings of the individualized facts justifying the secured bond, effectively ensuring that

no defendant could elect or be offered the alternative to post a non-excessive secured bond in lieu

of suffering infringement upon their pre-trial liberties.

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       44.       In sum, the new Supreme Court Rules change the landscape of the State’s criminal

justice system replacing a system that guaranteed a monetary bail determination to all defendants

except those in certain capital cases with a system that authorizes pre-trial detention based on

perceived dangerousness and imposition of severely restrictive conditions such as electronic

monitoring, home detention, drug and alcohol prohibition, and travel limitations without any

opportunity to instead post non-excessive secured bond.

       D.      THE IMPACT OF THE CHALLENGED LAW

       45.     The New Mexico Supreme Court’s new pretrial release rules took effect July 1,

2017. They are similar if not largely identical to the Criminal Justice Reform Act that was adopted

by New Jersey’s legislature as New Jersey’s new pre-trial release and detention procedures which

took effect January 1, 2017.

       46.     Because New Mexico’s new rules are nearly identical to New Jersey’s new law, and

because Supreme Court Rules are so recently adopted such that no reliable accounting or collection

of data has yet been completed, it is appropriate to consider New Jersey statistics of the impacts to

its citizenry in forecasting the impact to New Mexico.

       47.     According to New Jersey’s preliminary statistics, in the first three months of 2017,

New Jersey courts granted 1,262 pre-trial detention motions from prosecutors—a procedural

mechanism that allows detention without the consideration of bail and that did not exist before the

new law. N.J. Courts, Criminal Justice Reform Statistics: January 2017-March 2017, Chart A,

http://bit.ly/2q68u9Y.

       48.     According to the same statistics, approximately 7,579 individuals were released

subject to non-monetary conditions in the first three months of 2017, including 1,286 who were

released subject to the most severe conditions including home detention and electronic monitoring.


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Id.

       49.     Although New Jersey appears not to have issued official statistics on the number of

defendants released on monetary bail under the new law, one prominent newspaper reported that of

“the 3,382 cases statewide that were processed in the first four weeks of January, judges set bail only

three times.” Lisa W. Foderaro, New Jersey Alters its Bail System and Upends Legal Landscape,

N.Y. Times (Feb. 6, 2017), http://nyti.ms/2llmeMR.

       50.     Thus, in New Jersey (as in New Mexico) while bail or secured bond remains a

theoretical option, “the reality is that judges have nearly done away with it.” Id.; see also Nicole

Hong & Shibani Mahtani, Cash Bail, a Cornerstone of the Criminal-Justice System, Is Under

Threat, Wall St. J. (May 22, 2017), http://on.wsj.com/2qHz5hb (describing impact on bail industry).

       51.     Plaintiff BBANM’s membership is the many bail bond companies that have been

severely harmed by the drastic reduction in the number of defendants given the option of jailhouse

bonds or secured bonds under the new law.

       52.     If New Mexico criminal defendants had the option of secured bonds or jailhouse

bonds, the members of Plaintiff BBANM would help them to take advantage of that option.

       53.     Plaintiff BBANM thus asserts both its members own constitutional rights and those

of their potential customers. See, e.g., Dep’t of Labor v. Triplett, 494 U.S. 715, 720 (1990).

       E.      THE CHALLENGED LAW APPLIED TO PLAINTIFF COLLINS

       54.     On July 1, 2017, Plaintiff Darlene was arrested for aggravated assault arising out

of a domestic dispute.

       55.     Plaintiff Collins was then transported to the Metro Detention Center in Albuquerque,
NM.

       56.     Plaintiff Collins suffers from a handicap from a previous accident cause by a drunk

driver, a mental condition requiring medication, and a medical condition requiring medication. She

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was denied access to necessary medications as a result of her incarceration, ultimately resulting in

her care in the jail’s infirmary, Lovelace Hospital and UNM-Hospital at taxpayer expense.

       57.     Plaintiff Collins is retired and lives in the community.

       58.     Plaintiff Collins has no prior criminal record.

       59.     Plaintiff Collins has a supportive family.

       60.     Under the system of jailhouse bonds and secured bonds that existed for a century

in New Mexico before July 1, 2017, the jailhouse could have set a reasonable, non-excessive

monetary bail to ensure Plaintiff Collin’s appearance at arraignment and then for trial.

       61.     If a jailhouse bond had been allowed, Plaintiff Collin’s family was prepared to use

their own financial resources with the assistance of a member of Plaintiff BBANM to pay the

required amount for pre-arraignment release.

       62.     The new Supreme Court Rules barred the jailhouse and the Court from setting a

secured bond unless a Court first determined that no combination of non-monetary conditions

would reasonably assure Plaintiff Collin’s appearance at arraignment.

       63.     As result of the denial of the ability of her family to post bail to secure her freedom,

Plaintiff Collins was incarcerated for almost 5 full days and was required to be hospitalized.

       64.     The Metro Detention Center (MDC) did not—and could not, under the new Supreme

Court Rules consider releasing Plaintiff Collins subject to monetary bail.

       65.        Ultimately, no conditions were imposed upon her release post-arraignment and

pre-trial other than a verbal order from the Court that she was being released, but she was not

allowed to return to her home. The loss of liberty pre-arraignment imposed upon on Plaintiff Collins

was severely disruptive, causing her medical problems, causing concerns for post-traumatic stress

disorder, to disrupt her family life causing her daughters to fear for her life, and make her feel that


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her life was in jeopardy.

          66.       Yet under the Supreme Court Rules, the MDC was not even allowed to consider

the liberty-preserving if not potentially life-preserving option of monetary bail before requiring the

continued incarceration of Plaintiff Collins.

   F. THE CHALLENGED LAW WAS PROMULGATED IN VIOLATION OF THE
      NEW MEXICO CONSTITUTION’S SEPERATION OF POWERS

          67.       Plaintiffs Senator Martinez, Senator Sharer, Senator Brandt, Representative

Trujillo and Representative Rehm are currently serving legislators in the New Mexico Senate and

House respectively. As duly elected members of the New Mexico Legislature they are charged

as members of the body with the power and the responsibility of that branch of government to

pass “laws providing for the preservation of the public peace, health or safety.” N.M. Const. art.

IV, § 1

          68.       The Defendants have the ability to write rules for the administration of justice

in the lower courts pursuant to the Supreme Court’s authority under the New Mexico Constitution

to “have superintending control over all inferior courts.” N.M. Const. art. VI, § 3

          69.       In New Mexico’s tripartite government, the respective powers are separated and

cannot be executed by a branch not possessing those powers under the New Mexico Constitution.

The New Mexico Constitution expressly states:

          The powers of the government of this state are divided into three distinct
          departments, the legislative, executive and judicial, and no person or collection of
          persons charged with the exercise of powers properly belonging to one of these
          departments, shall exercise any powers properly belonging to either of the others,
          except as in this constitution otherwise expressly directed or permitted.

N.M. Const. art. III, § 1. Article III provides for the division of government into three distinct

branches, the legislative, executive, and judicial branches, each responsible for performing a

different function. The separation of powers provision of Article III, Section 1, generally bars one


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branch of government from performing a function reserved for another branch of government. Old

Abe Co. v. New Mexico Mining Commission, 908 P.2d 776, 787 (1995); citing State ex rel. Clark

v. Johnson, 904 P.2d 11, 22 (1995).

       70.        The question at hand is, therefore, does the Supreme Court’s new pretrial release

rules make or change law for the preservation of the public peace, health or safety. “The test is

whether the [Supreme Court's] action disrupts the proper balance between the [judicial] and

legislative branches.” State ex rel. Clark, 904 P.2d at 23. “If the Supreme Court's actions infringe

upon “the essence of legislative authority the making of laws then the [Supreme Court] has

exceeded [its] authority.” State ex rel. Clark, 1995-NMSC-051, 120 N.M. at 573, 904 P.2d at 22.

       71.        The New Mexico Legislature has clearly exercised its legislative authority to pass

laws to preserve the public peace with regard to bail and pretrial release as evidenced by the

existence of statutes directed to the issue. Thus, such a major public policy change undertaken by

the New Mexico Supreme Court in adopting the new Supreme Court Rules infringes upon the power

of the Legislature to make law.

                               CLASS ACTION ALLEGATIONS

          A.      GENERAL CLASS ACTION ALLEGATIONS

       72.        Plaintiff Collins brings this action, on behalf of herself and all others similarly

situated, for the purpose of asserting the claims alleged in this complaint on a common basis.

       73.        A class action is a superior means, and the only practicable means, by which

Plaintiff Collins and unknown class members can challenge the New Mexico Supreme Court’s

unconstitutional rules restricting the liberty of Plaintiff Collins and similarly situated class members

without providing the constitutionally required option of monetary bail.

       74.        This action is brought and may properly be maintained as a class action pursuant


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to Federal Rule of Civil Procedure 23(a), 23(b)(2), and 23(b)(3).

       75.        This action satisfies the numerosity, commonality, typicality, and adequacy

requirements of Rule 23(a), as well as the predominance and superiority requirements of Rule

23(b)(2) and (b)(3), where applicable.

       76.        Plaintiff Collins proposes a class seeking declaratory and injunctive relief and a

class seeking damages relief.

       77.      The Declaratory and Injunctive Relief Class is defined as: All New Mexico criminal

defendants who are or will be subject to the liberty-restricting conditions of pre-trial release

permitted by the Supreme Court Rules without having the opportunity to be considered for release

on secured bond.

          78.     The Damages Class is defined as: All New Mexico criminal defendants who

  were denied the opportunity for pre-arraignment liberty and criminal defendants who are or

  who were (but are no longer) subject to the liberty-restricting conditions of pre-trial release

  permitted by the Supreme Court Rules without having the opportunity to be considered for

  release on a secured bond, and who have suffered compensable harm as a result.

          B.      RULE 23(A)(1): NUMEROSITY

          79.     The class is so numerous that joinder is impracticable.

          80.     The vast majority of these individuals were denied the opportunity for pre-

  arraignment liberty and were subjected to liberty-restricting conditions of pre-trial release

  without having the opportunity to be considered for release on a secured bond.

          81.     The total number of individuals subjected to the challenged law—either in the

  past, currently, or in the future—will likely number in the tens of thousands.




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          C.      RULE 23(A)(2): COMMONALITY

       82.      Common questions of law or fact exist as to all members of the class.

       83.      All class members seek relief on the common legal question whether New Mexico’s

law violates their constitutional rights by subjecting them to liberty- restricting conditions of release

without providing them with an opportunity to be considered for release on monetary bail.

       84.      All class members also present a common factual question in that they were denied

release pre-arraignment and were released subject to liberty-restricting conditions without a

consideration of secured bond.

        85.     All members of the declaratory and injunctive relief class seek relief on the common

legal question whether a declaratory judgment and injunctive relief are appropriate relief for the

asserted constitutional violation.

       86.      All members of the damages class seek relief on the common legal question whether

damages are available for the asserted constitutional violation.

       D.       RULE 23(A)(3): TYPICALITY

       87.      Plaintiff Collin’s claims are typical of the claims of other members of the class.

       88.      Like all members of the class, Plaintiff Collins was denied a jailhouse bond pre-

arraignment and was released subject to liberty-restricting conditions without having the opportunity

to be considered for release on secured bond.

        89.     Like all members of the class, Plaintiff Collins claims that the New Mexico

Supreme Court’s rules barring consideration of secured bond before imposing liberty-restricting

conditions violates her constitutional rights.

       90.      Like all members of the declaratory and injunctive relief class, Plaintiff Collins seeks

a declaratory judgment that the law is unconstitutional and an injunction preventing the New


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Mexico Courts from enforcing it.

        91.    Like all members of the damages class, Plaintiff Collins suffered compensable harm

as a result of the liberty-restricting conditions imposed on her and seeks damages to remedy that

harm.

        92.    There is nothing distinctive about Plaintiff Collins’s claim for declaratory relief,

injunctive relief, or damages that would lead to a different result in her case than in any case

involving other class members.

        E.     RULE 23(A)(4): ADEQUACY

        93.    Plaintiff Collins is an adequate representative of the class because her interest in the

vindication of her constitutional rights is entirely aligned with the interests of the other class

members, each of whom has the same constitutional claims.

        94.    Plaintiff Collins is a member of the class, and her interests do not conflict with those

of the other class members with respect to any claims.

        95.    Plaintiff Collins is represented by attorneys from Western Agriculture, Resource and

Business Advocates, LLP and Preston Law Offices, who have extensive experience litigating

complex civil rights matters in federal court and detailed knowledge of New Mexico’s law and other

relevant issues.

        96.    Class counsel has undertaken a detailed investigation of New Mexico’s policies,

practices, and procedures as they relate to federal constitutional requirements.

        97.    Class counsel has developed and continues to develop relationships with Plaintiff

Collins and others similarly situated. The interests of the members of the class will be fairly and

adequately represented by Plaintiff Collins and her attorneys.




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        F.      RULE 23(B)(2): DECLARATORY AND INJUNCTIVE RELIEF CLASS

        98.     A class action is appropriate for the declaratory and injunctive relief class under Rule

23(b)(2) because Defendants have acted on grounds that apply generally to the class—namely the

new Supreme Court Rules effectively prohibiting consideration of secured bond if any combination

of non-monetary conditions and non-secured monetary conditions would reasonably assure a

defendant’s appearance at trial.

        99.     The class seeks declaratory and injunctive relief to enjoin enforcement of the

unconstitutional provisions of the Supreme Court Rules. That relief will necessarily apply to every

member of the class and is thus appropriate, respecting the class as a whole.

        100.    Class status is particularly appropriate because there is an acute risk that any

individual class member’s claim for declaratory and injunctive relief will become moot before the

litigation is finally resolved.

        G.      RULE 23(B)(3): DAMAGES CLASS

        101.    A class action is appropriate for the damages class under Rule 23(b)(3) because

questions of law or fact common to class members predominate over any questions affecting only

individual members, and a class action is superior to other available methods for fairly and

efficiently adjudicating the controversy.

        102.    The predominant question in the case is whether the provisions of the Supreme Court

Rules allowing liberty-restricting conditions of release to be imposed without consideration of

secured bond is consistent with the Constitution. This question of law and the most important

questions of fact—that the class members were subjected to denial of pre-arraignment liberty and

liberty-restricting conditions without consideration of secured bond—are common to all members

of the class. These questions predominate over any questions affecting only individual members,


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such as potential variations in damages.

        103.    A class action is a superior mechanism for fairly and efficiently adjudicating the

controversy because individual damage claims are likely to be relatively small, which would

severely limit any individual class member’s ability to obtain relief (especially considering that

many class members are unlikely to be able to retain attorneys to pursue their small civil claims).

        104.    A class action is also superior because litigating thousands of individual damages

claims would be unnecessarily burdensome for the state and the courts and could produce unfair and

inconsistent results.

        105.    Individual members of the damages class do not have a strong interest in controlling

the prosecution of separate lawsuits. See Fed. R. Civ. P. 23(b)(3)(A). To the contrary, given the small

claims at issue, they are unlikely to obtain any relief at all without aggregation. And the class

members’ interests are wholly aligned with Plaintiff Collin’s. Finally, class counsel is highly

experienced and competent to represent the members’ individual and collective interests.

        106.    Class counsel is not aware of any other pending litigation on the same issue. See

Fed. R. Civ. P. 23(b)(3)(B).

        107.    It is desirable to concentrate this litigation in the District of New Mexico because the

lawsuit concerns the constitutionality of New Mexico Supreme Court Rules, all of the operative

events take place in New Mexico, and any relevant evidence is likely to be found in New Mexico.

See Fed. R. Civ. P. 23(b)(3)(C).

        108.    Class litigation would be manageable. The Class is not so large as to be unwieldy,

common questions predominate over individual issues, the Class is geographically concentrated,

and aggregation will not present any difficulties related to notice. See Fed. R. Civ. P. 23(b)(3)(D).




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                       COUNT ONE VIOLATION OF RIGHT TO BAIL
                           (Eighth and Fourteenth Amendments)
         109.   Plaintiffs hereby re-allege and incorporate by reference the allegations in paragraphs

1-108.

         110.   The Eighth Amendment provides that “[e]xcessive bail shall not be required, nor

excessive fines imposed, nor cruel and unusual punishments inflicted.”

         111.   The Supreme Court has held that the Eighth Amendment protection against

excessive bail applies to the States. See McDonald v. City of Chicago, Ill., 561 U.S. 742, 763 (2010).

         112.   The Eighth Amendment’s protection against “excessive bail” has always been

understood to refer to monetary bail. See, e.g., Salerno, 481 U.S. at 754 (“bail must be set by a court

at a sum designed to ensure” statutory objective) (emphasis added); Stack, 342 U.S. at 5 (describing

bail as a “bond or the deposit of a sum of money subject to forfeiture”) (emphasis added).

         113.   The Eighth Amendment protection against pre-trial deprivation of liberty through

“[e]xcessive bail” necessarily implies the option of bail to avoid a pre-trial deprivation of liberty in

the first place, just as the Sixth Amendment right to a speedy trial implies the option of a trial.

Otherwise, the prohibition on excessive bail could be rendered superfluous by denying bail in all

cases.

         114.   The only way to give meaning to the Eighth Amendment protection against

excessive bail is to recognize the logically antecedent “right to bail before trial.” Stack, 342 U.S. at

4; see United States v. Motlow, 10 F.2d 657, 659 (7th Cir. 1926) (Butler, Circuit J.) (Eighth

Amendment “implies, and therefore safeguards, the right to give bail”); Sistrunk, 646 F.3d at 70 n.23

(“The constitutional right to be free from excessive bail thus shades into a protection against a denial

of bail.”).

         115.   In other words, the Eighth Amendment “bail clause should be interpreted to protect


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and ratify the … right to bail as a fundamental principle of American criminal jurisprudence.”

Verrilli, Right to Bail, 82 Colum. L. Rev. at 354.

         116.   Although a court may deny bail when no amount of money will reasonably assure

the defendant’s presence at trial or when releasing the defendant would endanger the community,

the Eighth Amendment requires that the option of bail remain available before a defendant is

deprived of pre-trial liberty outside such “carefully limited exception[s].” Salerno, 481 U.S. at 753-

55.

         117.   The Supreme Court Rules violate the Eighth Amendment by permitting judges to

consider secured bond only when it is determined that no other conditions of release will reasonably

assure the eligible defendant’s appearance in court when required.”

         118.   Moreover, because the permissible “conditions of release” that courts must consider

before offering monetary bail include extremely restrictive conditions like electronic monitoring and

home detention, the law not only subordinates secured bond to other conditions (which are not

constitutionally protected), but effectively takes secured bonds off the table as an option entirely.

         119.     By imposing substantial deprivations of pre-trial liberty on Plaintiff Collins and

other presumptively innocent defendants without offering the option of non-excessive bail to assure

their appearance at arraignment and trial, Defendants violate Plaintiffs’ Eighth Amendment rights.

         120.     Defendants’ violation of Plaintiffs’ Eighth Amendment rights has caused them

substantial damages.

      COUNT TWO DEPRIVATION OF LIBERTY WITHOUT DUE PROCESS OF LAW
                          (Fourteenth Amendment)

         121.   Plaintiffs hereby re-allege and incorporate by reference the allegations in paragraphs

1-120.

         122.   The Fourteenth Amendment Due Process Clause provides that no State shall
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“deprive any person of life, liberty, or property, without due process of law.”

       123.    The Due Process Clause’s protection of “liberty” has “always … been thought to

encompass freedom from bodily restraint and punishment.” Ingraham v. Wright, 430 U.S. 651, 673-

74 (1977).

       124.    The protection against bodily restraint includes not only freedom from “government

custody, detention, or other forms of physical restraint,” Zadvydas v. Davis, 533 U.S. 678, 690

(2001), but also “the right to move freely about one’s neighborhood or town,” Lutz v. City of York,

899 F.2d 255, 268 (3d Cir. 1990); see also 1 William Blackstone, Commentaries *134 (“personal

liberty consists in the power of locomotion, of changing situation, or moving one’s person to

whatsoever place one’s own inclination may direct, without imprisonment or restraint, unless by due

course of law”).

       125.    The Due Process Clause’s protection of liberty applies to criminal defendants

awaiting trial, who “remain clothed with a presumption of innocence and with their constitutional

guarantees intact.” Pugh v. Rainwater, 572 F.2d 1053, 1056 (5th Cir. 1978) (en banc).

       126.    Under the Due Process Claus, “liberty is the norm, and detention prior to trial or

without trial is the carefully limited exception.” Salerno, 481 U.S. at 755.

       127.    As a “general rule,” therefore, “the government may not detain a person prior to a

judgment of guilt in a criminal trial.” Id. at 749.

       128.    By subjecting Plaintiff Collins and other presumptively innocent criminal

defendants to denial of pre-arraignment release, restrictive conditions of release, including home

detention and GPS monitoring through an ankle bracelet, Defendants intrude on the constitutionally

protected right to liberty - “freedom from bodily restraint.” Ingraham, 430 U.S. at 674.

       129.    “Every confinement of the person is an imprisonment, whether it be in a common


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prison or in a private house, … and when a man is lawfully in a house, it is imprisonment to prevent

him from leaving the room in which he is.” Wallace v. Kato, 549 U.S. 384, 388-89 (2007) (quotation

marks omitted).

          130.   By imposing liberty-restricting conditions on Plaintiff Collins and other

presumptively innocent criminal defendants without offering them the historically-required option

of non-excessive monetary bail that would reasonably assure their appearance at arraignment and

trial and protect the community, Defendants violate the procedural component of the Due Process

Clause.

          131.   Defendants also violate Plaintiffs’ substantive rights under the Due Process Clause

because the option of non-excessive bail for a bailable offense is “fundamental to our scheme of

ordered liberty” and “deeply rooted in this Nation’s history and tradition.” McDonald, 561 U.S. at

767.

          132.   The Supreme Court has held that bail is “basic to our system of law,” Schilb, 404

U.S. at 365, and a “constitutional privilege” to which pre-trial defendants are “entitled,” United States

v. Barber, 140 U.S. 164, 167 (1891).

          133.   The Supreme Court has equated the “traditional right to freedom before conviction”

with the “right to bail before trial.” Stack, 342 U.S. at 4.

          134.   The Third Circuit has similarly held that “bail constitutes a fundament of liberty

underpinning our criminal proceedings” that “has been regarded as elemental to the American

system of jurisprudence.” Sistrunk, 646 F.2d at 70.

          135.   Likewise, bail is deeply rooted in this Nation’s history and tradition. The right to

bail predates the Constitution, having been recognized in the Massachusetts Body of Liberties in

1641 and other fundamental documents of the Founding Era; having been protected by federal law


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since the Northwest Ordinance of 1787 and the Judiciary Act of 1789; and having been protected

in the overwhelming majority of state constitutions.

          136.   The right to bail enjoys a historical pedigree that is as well-established - if not more

so - than other rights protected by the Due Process Clause. For example, when the Fourteenth

Amendment was ratified in 1868, 22 of 37 state constitutions included the right to keep and bear

arms that the Supreme Court found protected by the Due Process Clause in McDonald, 561 U.S. at

777. An even greater number - 29 state constitutions - protected a right to bail. See Matthew J.

Hegreness, America’s Fundamental and Vanishing Right to Bail, 55 Ariz. L. Rev. 909, 934-35

(2013).

          137.   In sum, if a defendant’s right to be free from restrictions on his liberty without first

being offered the option of non-excessive monetary bail is not directly protected by the Eighth

Amendment, it must be protected by the Due Process Clause of the Fourteenth Amendment.

          138.   Defendants’ violation of Plaintiffs’ rights under the Due Process Clause has caused

them substantial damages.

                 COUNT THREE UNREASONABLE SEARCH AND SEIZURE
                         (Fourth and Fourteenth Amendments)

          139.   Plaintiffs hereby re-allege and incorporate by reference the allegations in paragraphs

1-138.

          140.   The Fourth Amendment protects the “right of the people to be secure in their persons,

houses, papers, and effects, against unreasonable searches and seizures.”

          141.   The Fourth Amendment applies against the States through the Fourteenth

Amendment. See, e.g., Camara v. Mun. Ct. of City & Cty. of S.F., 387 U.S. 523, 528 (1967).

          142.   Subjecting a person to a GPS-tracking electronic monitor constitutes a Fourth

Amendment “search.” Grady, 135 S. Ct. at 1369.

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       143.    Likewise, pre-trial release conditions such as home detention and mandatory

reporting to pre-trial services constitute a Fourth Amendment “seizure.” United States v. Jacobsen,

466 U.S. 109, 113 n.5 (1984) (a “meaningful interference, however brief, with an individual’s

freedom of movement” is a seizure).

       144.    A criminal defendant who has been released before trial “does not lose his or her

Fourth Amendment right to be free of unreasonable” searches and seizures. United States v. Scott,

450 F.3d 863, 868 (9th Cir. 2006).

       145.    Moreover, a defendant’s consent to Fourth Amendment searches or seizures as a

condition of release does not immunize the restrictions from constitutional scrutiny. Id. at 866.

       146.    The reasonableness of a Fourth Amendment search or seizure is determined “by

assessing, on the one hand, the degree to which it intrudes upon an individual’s privacy and, on the

other, the degree to which it is needed for the promotion of legitimate governmental interests.”

Wyoming v. Houghton, 526 U.S. 295, 300 (1999).

       147.    The intrusion on Plaintiff’s privacy is particularly severe because it reaches into her

home, where her interest in privacy is “at its zenith.” Scott, 450 F.3d at 871; see United States v.

Karo, 468 U.S. 705, 714 (1984).

       148.    On the other side of the balance, Defendants cannot show that intrusive electronic

monitoring of the kind imposed on Plaintiffs in New Mexico is “needed for the promotion of” their

“legitimate governmental interest[]” in securing a defendants appearance at trial when Supreme

Court Rules prohibited consideration of a less restrictive mechanism that has been used to promote

precisely that governmental interest for almost the entire history of Anglo-American law:

monetary bail. Houghton, 526 U.S. at 300 (emphasis added).

       149.    It is particularly unreasonable to prohibit consideration of monetary bail to fulfill


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the state’s legitimate governmental interest when monetary bail is protected by the Constitution.

        150.    Defendants’ search and seizure violates the Fourth Amendment.

        151.    Defendants’ violation of Plaintiffs’ Fourth Amendment rights has caused them

substantial damages.

                                       PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs respectfully request that this Court:

        A.      Enter judgment in their favor;

        B.      Certify a class as described above, pursuant to Plaintiff Collins’s forthcoming class

certification motion;

        C.      Declare that the Supreme Court Rules violate the Eighth Amendment right of

Plaintiff Collins and other presumptively innocent criminal defendants to the option of non-

excessive monetary bail that will reasonably assure their appearance at arraignment and trial before

being subjected to severe restrictions of their pre-trial liberty;

        D.      Declare that the Supreme Court Rules violate the procedural and substantive due

process rights of Plaintiff Collins and other presumptively innocent criminal defendants to the

option of non-excessive monetary bail that will reasonably assure their appearance at arraignment

and trial before being subjected to severe restrictions of their pre-trial liberty;

        E.      Declare that the Supreme Court Rules violate the Fourth Amendment rights of

Plaintiff Collins and other presumptively innocent criminal defendants to be free from unreasonable

searches and seizures;

        F.      Declare that the Supreme Court Rules violate the New Mexico Constitution’s Art.

III, § 1 separation of powers by infringing upon the authority of the New Mexico Legislature to

pass laws preserving the public peace;


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       G.      Enter a preliminary injunction preventing Defendants and their inferior courts from

enforcing the provisions of the Supreme Court Rules that allow them to impose severe restrictions

on the pre-trial liberty of Plaintiff Collins and other presumptively innocent criminal defendants

without offering the option of non-excessive monetary bail or a secured bond that will reasonably

assure their appearance at arraignment or trial;

       H.      Enter a permanent injunction preventing Defendants and their inferior courts from

enforcing the provisions of the Supreme Court Rules that allow them to impose severe restrictions

on the pre-trial liberty of Plaintiff Collins and other presumptively innocent criminal defendants

without offering the option of non-excessive monetary bail that will reasonably assure their

appearance at arraignment or trial;

       I.      Award Plaintiffs damages to compensate for the injuries they have suffered as a

result of Defendants’ unconstitutional conduct;

       J.      Award Plaintiffs the costs of their suit, including attorney fees and costs, pursuant to

42 U.S.C. §1988;

       K.      Grant any other and further relief that the Court deems just and proper.


Respectfully submitted this 28th day of July 2017.



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